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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

NOVEDEA SYSTEMS, INC. and                      §
ANAND DASARI,                                  §
                                               §
     Plaintiffs,                               §
                                               §                    Civil Action No. 6:20-cv-180
v.                                             §
                                               §                    JURY TRIAL DEMANDED
COLABERRY, INC. and                            §
RAM KATAMARAJA,                                §
                                               §
     Defendants.                               §


                                NOTICE OF APPEARANCE

         John P. Martin of The Hamm Firm (“THF”) files this Notice of Appearance on behalf of

plaintiffs Novedea Systems, Inc. (“Novedea”) and Anand Dasari (“Dasari”) (collectively,

“Plaintiffs”). Plaintiffs’ current counsel of record, Ryan A. Botkin and Wittliff Cutter, PLLC,

and THF have filed a Motion to Substitute Counsel that is pending before the Court.

                                                   Respectfully submitted,

                                                   /s/ John P. Martin
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                              CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the above and foregoing was served by ECF to
counsel of record on May 16, 2020:

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                                                  /s/ John P. Martin
                                                  John P. Martin




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